                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                          8:16PO2

       vs.
                                                                          ORDER
RONALD JAMES DUEY,

                      Defendant.


       UPON THE MOTION OF THE DEFENDANT, (Filing No. 31), and no objection from the
government,


       IT IS ORDERED:
       1. The Unopposed Motion to Continue Hearing [31] is granted.
       2. The Change of Plea hearing is continued to May 1, 2018 at 10:00 a.m. before Magistrate
Judge Michael D. Nelson, Courtroom No. 6, Second Floor, Roman L. Hruska U.S. Courthouse, 111
So. 18th Plaza, Omaha, Nebraska.
       3. For this defendant, the time between today’s date and the change of plea hearing is
excluded for purposes of computing the limits under the Speedy Trial Act. See 18 U.S.C. §
3161(h)(7)(A), (B)(i). The Court finds that the ends of justice served by the granting of such
continuance outweigh the best interests of the public and the defendant in a speedy trial for the
reason that defendant has been approved for a diversion program and further time is required for him
to complete such program.
       4. No further continuances will be granted, absent unusual circumstances.
       5. Since this is a criminal case, the defendant must be present, unless excused by the Court.


       Dated this 7th day of March, 2018.

                                                      BY THE COURT:

                                                      s/ Michael D. Nelson
                                                      United States Magistrate Judge
